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                                                                                  Monday, 27 April, 2020 01:53:36 PM
                                                                                       Clerk, U.S. District Court, ILCD
                                           IN THE UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF ILLINOIS
                                                   SPRINGFIELD DIVISION

                        UNITED STATES OF AMERICA,

                              Plaintiff,

                                    v.                                  No.: 19-CR-30067

                        TODD SHEFFLER,
                        WILLIE HEDDEN, and
                        ALEX BANTA

                              Defendant.


                                   DEFENDANT ALEX BANTA’S SECOND MOTION
                                   TO CONTINUE THE PRESENTLY SCHEDULED
                                         PRE-TRIAL AND TRIAL DATES

                             Defendant ALEX BANTA, by his attorney Stanley N. Wasser,

                        moves this Court to reschedule at least 90-days hence the presently

                        scheduled pre-trial and trial dates in this matter on the grounds that this

                        case is in its initial stages; Defendant Banta has not yet received

                        additional Government disclosures that he has requested; and Defendant

                        Banta will require a reasonable amount of time to conduct his own

                        investigation of witnesses and other proffered evidence.

                             In further support of this Motion, Defendant Banta states as

                        follows:

                             1.       Defendant Banta, and the two co-defendants, were indicted
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                    on December 5, 2019.       (d/e #1) Defendant Banta, and the two co-

                    defendants, were arraigned and all three released on bond on December

                    6, 2019. See Minute Entry dated December 9, 2019. Defendant Banta

                    remains released on bond without incident.       The co-defendants also

                    remain released on bond.

                          2.   The Court has set the following new dates: the final pretrial

                    conference is set for April 29, 2020 and the trial is set for May 1, 2020.

                    See Text Order dated January 23, 2020.

                          3.   The Indictment in this case level extremely serious charges

                    against Defendant Banta, all arising from an incident at a state

                    correctional center where an inmate died from injuries sustained in that

                    incident: Count I – Conspiracy to Deprive Civil Rights; Count II –

                    Deprivation of Civil Rights; Count 3 – Conspiracy to Engage in Misleading

                    Conduct; Count 9 – Obstruction – Falsification of Document; and Count

                    10 – Obstruction – Misleading Conduct. Counts 4, 5, 6, 7, and 8, directed

                    to the co-defendants make similar serious allegations of obstruction.

                          4.   On December 6, 2019, the Court ordered discovery to

                    commence. See Minute Entry dated December 6, 2019. On December 19,

                    2019, Government’s counsel forwarded a proposed Protective Agreement

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                    to counsel for Defendant Banta for review and signature. On January 13,

                    2020, after negotiating the agreement terms, Defendant Banta’s counsel

                    returned the signed a revised Protective Agreement to Government’s

                    counsel. On January 14, 2020, counsel for Defendant Banta received the

                    Government’s disclosures.

                          5.   On March 9, 2020, after reviewing the extensive Government

                    disclosures, counsel for Defendant Banta sent a letter to Government

                    counsel requesting five additional disclosures. This request is pending

                    with Government counsel.     On April 27, 2020, Government’s counsel

                    advised that additional disclosures will be forthcoming.

                          6.   On March 18, 2020, Amended General Order 20-01 was issued

                    in response to the COVID-19 public emergency. Paragraph 4 of that

                    Order recites that all criminal jury trials scheduled to begin before May

                    18, 2020, are continued and shall be rescheduled by the presiding judge

                    to a date after May 18, 2020. Since the order was issued, the Court has

                    not yet rescheduled the above-captioned criminal case.

                          7.   In view of the foregoing, being the current scheduling burdens

                    that the COVID-19 public emergency has placed on the Court’s

                    administration of its case docket and the fact that there are additional

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                    discovery matters at issue between the Government and Defendant

                    Banta, the interests of justice, a further continuance of this case is

                    warranted and granting a further continuance is in the interest of justice.

                          8.    Defendant Banta’s counsel has conferred with Government’s

                    counsel and with counsel for the co-defendants. Co-defendants’ counsel

                    have both represented that they have no objection to a continuance.

                    Government’s counsel has advised that he has no objection to a

                    continuance of 90 days.

                          Wherefore, Defendant ALEX BANTA prays that this Court enter

                    its order rescheduling the final pre-trial and trial dates to dates at least

                    ninety (90) days hence to permit counsel for Defendant BANTA and the

                    Government to work through pending discovery matters, to permit

                    Defendant Banta and his counsel sufficient time to review any additional

                    Government disclosures that may be forthcoming, to complete Defendant

                    Banta’s investigation of this case, and to permit Defendant Banta and his

                    counsel to adequately prepare for trial in this cause.




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                                                             ALEX BANTA, Defendant,


                                                             _/s/Stanley N. Wasser ________
                                                             Stanley N. Wasser, #2947307
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                                            CERTIFICATE OF SERVICE

                              I hereby certify that on April 27, 2020, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                   Timothy A Bass           tim.bass@usdoj.gov

                                   Victor B. Yanz          victor.yanz@usdoj.gov

                                   William L Vig            bill@vig-law.com

                                   Mark Wycoff             mark@wycofflaw.com

                                   James Elmore            elmoreandreid@sbcglobal.net


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                   Not Applicable


                                                           BY: _/s/Stanley N. Wasser ________
                                                               Stanley N. Wasser, #2947307
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